Case 2:05-cr-20137-.]DB Document 32 Filed 08/25/05 Page 1 of 2 Page|D 32

 

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FoR THE WESTERN DISTRICT oF TENNESSEE _
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CLERK U.S. DESTHPCT COURT
UNITED STATES OP AMERICA, wm OF me MEMPHB

Plaintiff,
vs. Cr. No. 05-20137-B
WILLIAM THOMAS POWELL,

Defendant.

 

ORDER GRANTING MOTION TO CONTINUE REPORT DATE

 

F or good cause Shown, the Court hereby GRANTS defendant’ s motion to continue the report

date, currently Set for Monday, August29 2005 until g/i g 131 q of /, q 4 g é'{<@, Q,O©g m ‘?,’3¢:) wm
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It ls So ORDERED, this the Q§$`\ day of August 2005

dow

@ABLE J. DANIEL BREEN
STATES DISTRJCT COURT JUDGE

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
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FPD

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Dan NeWsom

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

